      Case 6:23-bk-14082-WJ                              Doc         Filed 06/10/24 Entered 06/10/24 12:14:58                          Desc Main
                                                                    Document      Page 1 of 6
 Fill in this information to identify the case:

  Debtor 1       Patricia Ann Doublet

  Debtor 2

 United States Bankruptcy Court for the: Central District of California

 Case number :    6:23-bk-14082-WJ



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                   12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement to
your proof of claim at least 21 days before the new payment is due. See Bankruptcy Rule 3002.1.
     Name of               THE BANK OF NEW YORK MELLON FKA THE BANK OF Court claim no.                                                                      7
     creditor:             NEW     YORK    AS     TRUSTEE       FOR THE (if known):
                           CERTIFICATEHOLDERS OF CWABS, INC., ASSET
                           BACKED CERTIFICATES, SERIES 2004-BC4
     Last 4 digits of any number                                                                      Date of payment change:                   07/01/2024
     you use to identify the debtor's                                      3197                       Must be at least 21 days after date of
     account:                                                                                         this notice

                                                                                                      New total payment:                        $2,022.85
                                                                                                      Principal, interest, and escrow, if any


Part 1:      Escrow Account Payment Adjustment

1.   Will there be a change in the debtor's escrow account payment?
      [ ] No
      [X] Yes. Attach a copy of the escrow account statement prepared in a form consistent with the applicable nonbankruptcy law. Describe
                       the basis for the change. If a statement is not attached, explain why:

                             Current escrow payment: $915.51                               New escrow payment: $947.81




Part : 2      Mortgage Payment Adjustment

2. Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's
   variable-rate account?
      [X] No
      [ ] Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a
                      notice is not attached, explain why:

                      Current interest rate:                                      New interest rate:
                      Current Principal and interest payment:                     New principal and interest payment:



Part 3:      Other Payment Change

3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
       [X] No
       [ ] Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
                       agreement. (Court approval may be required before the payment change can take effect).
                       Reason for change:
                           Current mortgage payment:                                       New mortgage payment:




Official Form 410S1                                                   Notice of Mortgage Payment Change                                            page 1
         Case 6:23-bk-14082-WJ                         Doc         Filed 06/10/24 Entered 06/10/24 12:14:58                           Desc Main
                                                                  Document      Page 2 of 6
Debtor 1 Patricia Ann Doublet                                                        Case number (if known)        6:23-bk-14082-WJ
                First Name             Middle Name           Last Name




Part 4:           Sign Below

 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

Check the appropriate box:

[ ] I am the creditor.
[X] I am the creditor's attorney or authorized agent.

I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.


     /s/Jason Seals                                                                         Date   06/10/2024
    Signature



Print:                       Jason Seals                                  Title Authorized Agent for Creditor

Company                      Padgett Law Group

Address                      6267 Old Water Oak Road, Suite 203

                             Tallahassee FL, 32312

Contact phone                (850) 422-2520                 Email               PLGinquiries@padgettlawgroup.com




Official Form 410S1                                                 Notice of Mortgage Payment Change                                             page 2
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                                                 IN THE UNITED STATES BANKRUPTCY COURT
                                                      CENTRAL DISTRICT OF CALIFORNIA
                                                             RIVERSIDE DIVISION

In Re;
Patricia Ann Doublet                                                       Case No.: 6:23-bk-14082-WJ
Debtor(s)                                                                  Chapter: 13

                                                           CERTIFICATE OF SERVICE


   I, hereby certify that on 06/10/2024, a true and correct copy of the foregoing document was served via United States Mail with adequate prepaid
                                                postage and/or electronically via the Court’s ECF system:


Service by U.S. First Class Mail

Debtor
Patricia Ann Doublet
4890 Huntsmen Pl
Fontana, CA 92336-0401


By Electronic Mail

Attorney for Debtor
Benjamin Heston
Nexus Bankruptcy
100 Bayview Circle #100
Newport Beach, CA 92660

Trustee
Rod Danielson (TR)
3787 University Avenue
Riverside, CA 92501




                                                                 /s/ Jason Seals

                                                                  Jason Seals




Official Form 410S1                                    Notice of Mortgage Payment Change                                                     page 3
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                                                                                      Mortgage4Servicing
                                                                                                of 6
                                                                                  P.O. Box 10826
                                                                                  Greenville, SC 29603
                                                                                  For Inquiries: 800-365-7107



                                                                                                               Analysis Date:                                      May 23, 2024
       PATRICIA A DOUBLET                                                                                      Loan:
       4890 Huntsman Pl                                                                                        Property Address:
       Fontana CA 92336                                                                                        4890 Huntsmen Place
                                                                                                               Fontana, CA 92336




                                                Annual Escrow Account Disclosure Statement - Account History
        THIS NOTICE IS BEING PROVIDED PURSUANT TO THE REAL ESTATE SETTLEMENT PROCEDURES ACT AND REGULATION X. TO THE EXTENT THE LOAN
      DESCRIBED BELOW IS INCLUDED IN AN ACTIVE BANKRUPTCY CASE OR IS SUBJECT TO A BANKRUPTCY DISCHARGE, THIS NOTICE IS BEING PROVIDED FOR
           INFORMATIONAL PURPOSES ONLY AND IS NOT A DEMAND FOR PAYMENT OR AN ATTEMPT TO COLLECT THE DEBT FROM YOU PERSONALLY

     The following is an overview of your escrow account with Shellpoint Mortgage Servicing. It contains the history of escrow payments made on your
     behalf in the prior year, and a snapshot of the anticipated disbursements for the coming year. Any potential adjustments due to increases or
     decreases with your escrow items may affect your monthly escrow payment. If your escrow payment increases, your monthly payment will also
     increase. If the escrow payment decreases, your mortgage payment will decrease.
Payment Information       Contractual      Effective Jul01, 2024        Prior Esc Pmt         October 01, 2023         Escrow Balance Calculation
P & I Pmt:                  $1,075.04                  $1,075.04        P & I Pmt:                     $1,075.04       Due Date:                                     April 01, 2021
Escrow Pmt:                     $0.00                    $947.81        Escrow Pmt:                      $915.51       Escrow Balance:                                  $2,358.84
Other Funds Pmt:                $0.00                      $0.00        Other Funds Pmt:                   $0.00       Anticipated Pmts to Escrow:                       $8,239.59
Asst. Pmt (-):                  $0.00                      $0.00        Asst. Pmt (-):                     $0.00       Anticipated Pmts from Escrow (-):                      $0.00
Reserve Acct Pmt:               $0.00                      $0.00        Resrv Acct Pmt:                    $0.00
Total Payment:              $1,075.04                  $2,022.85        Total Payment:                 $1,990.55       Anticipated Escrow Balance:                      $10,598.43

Shortage/Overage Information                       Effective Jul01, 2024          Cushion Calculation: Because Shellpoint Mortgage Servicing does not set your tax
Upcoming Total Annual Bills                                    $11,373.75         amounts or insurance premiums, your escrow balance contains a cushion of
Required Cushion                                                $1,895.63         1,895.63. A cushion is an additional amount of funds held in your escrow in order to
Required Starting Balance                                       $3,791.28         prevent the balance from becoming overdrawn when an increase in the
Escrow Shortage                                                     $0.00         disbursement amount occurs. Your lowest monthly balance should not be below
                                                                                  1,895.63 or 1/6 of the anticipated payment from the account.


      ** Since you are in an ac ve bankruptcy, your new payment shown above is the post-pe on payment amount.
     This is a statement of actual activity in your escrow account from Oct2023 to June 2024. Last year's anticipated activity (payments to and from your
     escrow account) is next to the actual activity.
                         Payments to Escrow                  Payments From Escrow                                                  Escrow Balance
        Date             Anticipated      Actual             Anticipated       Actual                  Description                 Required             Actual
                                                                                                  Starting Balance                  6,408.51        (39,436.56)
       Oct 2023                915.51                                                      *                                        7,324.02        (39,436.56)
       Nov 2023                915.51          1,831.02                                    *                                        8,239.53        (37,605.54)
       Dec 2023                915.51            915.51         2,847.67          2,892.47 * County Tax                             6,307.37        (39,582.50)
       Jan 2024                915.51            915.51         5,290.78                   * Lender Placed Hazard                   1,932.10        (38,666.99)
       Feb 2024                915.51                                                      *                                        2,847.61        (38,666.99)
       Mar 2024                915.51            915.51                                                                             3,763.12        (37,751.48)
       Mar 2024                                                                   2,892.43 * County Tax                             3,763.12        (40,643.91)
       Apr 2024                915.51          1,831.02         2,847.62                   * County Tax                             1,831.01        (38,812.89)
       Apr 2024                                                                   5,588.85 * Lender Placed Hazard                   1,831.01        (44,401.74)
       May 2024                915.51            915.51                                                                             2,746.52        (43,486.23)
       Jun 2024                915.51                                                         *                                     3,662.03        (43,486.23)
                                                                                                  Anticipated Transactions          3,662.03        (43,486.23)
       Jun 2024                               8,239.59 P                                                                                            (35,246.64)
                            $8,239.59        $15,563.67       $10,986.07        $11,373.75
       An asterisk (*) indicates a difference from a previous estimate either in the date or the amount . If you want a further explanation, please call our toll -free number.
       P - The letter (P) beside an amount indicates that the payment or disbursement has not yet occurred but is estimated to occur as shown .
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                                                                       For Inquiries:      5 of 6
                                                                                      800-365-7107

                                                                                                        Analysis Date:                                  May 23, 2024
                                                                                                        Loan:

                                     Annual Escrow Account Disclosure Statement - Projections for Coming Year
       THIS NOTICE IS BEING PROVIDED PURSUANT TO THE REAL ESTATE SETTLEMENT PROCEDURES ACT AND REGULATION X. TO THE EXTENT THE LOAN
     DESCRIBED BELOW IS INCLUDED IN AN ACTIVE BANKRUPTCY CASE OR IS SUBJECT TO A BANKRUPTCY DISCHARGE, THIS NOTICE IS BEING PROVIDED FOR
          INFORMATIONAL PURPOSES ONLY AND IS NOT A DEMAND FOR PAYMENT OR AN ATTEMPT TO COLLECT THE DEBT FROM YOU PERSONALLY

    This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and from your account.
    Your unpaid pre-petition escrow Amount is $45,845.07. This amount has been removed from the projected starting balance.

    Original Pre-Petition Amouont $45,845.07, Paid Pre-Petition Amount $0.00, Remaining Pre-Petition Amount $45,845.07.
        Date                Anticipated Payments                                                                        Escrow Balance
                           To Escrow       From Escrow            Description                                    Anticipated           Required
                                                                  Starting Balance                                10,598.43             3,791.28
    Jul 2024                  947.81                                                                              11,546.24             4,739.09
    Aug 2024                  947.81                                                                              12,494.05             5,686.90
    Sep 2024                  947.81                                                                              13,441.86             6,634.71
    Oct 2024                  947.81                                                                              14,389.67             7,582.52
    Nov 2024                  947.81                                                                              15,337.48             8,530.33
    Dec 2024                  947.81        2,892.47              County Tax                                      13,392.82             6,585.67
    Jan 2025                  947.81        5,588.85              Lender Placed Hazard                             8,751.78             1,944.63
    Feb 2025                  947.81                                                                               9,699.59             2,892.44
    Mar 2025                  947.81                                                                              10,647.40             3,840.25
    Apr 2025                  947.81        2,892.43              County Tax                                       8,702.78             1,895.63
    May 2025                  947.81                                                                               9,650.59             2,843.44
    Jun 2025                  947.81                                                                              10,598.40             3,791.25
                           $11,373.72      $11,373.75
     G – Pending Disbursements prior to the bankruptcy filing date. Pre-petition disbursements.

   (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)

   Your ending balance from the last month of the account history (escrow balance anticipated) is 10,598.43. Your starting
   balance (escrow balance required) according to this analysis should be $3,791.28.



   We anticipate the total of your coming year bills to be11,373.75. We divide that amount by the number of payments expected during the coming year
   to obtain your escrow payment.
     New Escrow Payment Calculation
     Unadjusted Escrow Payment                                   $947.81
     Surplus Reduction:                                            $0.00
     Shortage Installment:                                         $0.00
     Rounding Adjustment Amount:                                   $0.00
     Escrow Payment:                                             $947.81

                                             Please read the following important notices as they may affect your rights.

Newrez LLC dba Shellpoint Mortgage Servicing is a debt collector. This is an attempt to collect a debt and any information obtained will be used for that
purpose. Newrez LLC dba Shellpoint Mortgage Servicing's

If you are a customer in bankruptcy or a customer who has received a bankruptcy discharge of this debt: please be advised that this notice is to advise
you of the status of your mortgage loan. This notice constitutes neither a demand for payment nor a notice of personal liability to any recipient hereof,
who might have received a discharge of such debt in accordance with applicable bankruptcy laws or who might be subject to the automatic stay of
Section 362 of the United States Bankruptcy Code.

Attention Servicemembers and Dependents: The federal Servicemembers Civil Relief Act and certain state laws provide important protections for you,
including interest rate protections and prohibiting foreclosure under most circumstances during and twelve months after the servicemember’s military or
other service. Counseling for covered servicemembers is available from Military OneSource(800-342-9647) and the United States Armed Forces Legal
Assistance or other similar agencies. For more information, please visit the Military OneSource website www.militaryonesource.mil/.

Notice of Error or Information Request Address
You have certain rights under Federal law related to resolving errors in the servicing of your loan and requesting information about your loan. If you want
to request information about your loan or if you believe an error has occurred in the servicing of your loan and would like to submit an Error Resolution
or Informational Request, please write to us. Additionally, if you believe we have furnished inaccurate information to credit reporting agencies, please
write to us with specific details regarding those errors and any supporting documentation that you have and we will assist you. Error Resolution,
including concerns of inaccurate information sent to credit reporting agencies, or requests for information should be sent to the following address:

Shellpoint Mortgage Servicing
P.O. Box 10826
Greenville, SC 29603

We may report information about your account to credit bureaus. Late payments, missed payments, or other defaults on your account may be reflected
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in your credit report.
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A successor in interest is someone who acquires an ownership interest in a property secured by a mortgage loan by transfer upon the death of a
relative, as a result of a divorce or legal separation, through certain trusts, between spouses, from a parent to a child, or when a borrower who is a joint
tenant or tenant by the entirety dies. If you are a successor in interest, or you think you might be, please contact by phone, mail or email to start the
confirmation process.

Our system of record has your preferred language as English.

If you prefer to receive communication in a language other than English, please contact us at800-365-7107 to speak with a translator in your preferred
language about the servicing of your loan or a document you received.

Si prefiere recibir las comunicaciones en otro idioma que no sea el inglés, por favor, contáctenos en el 800-365-7107 para hablar con un traductor en el
idioma de su preferencia sobre la gestión de su préstamo o cualquier documento que haya recibido.

如果您要使用英语以外的其他语言进行交流，请致电                                            800-365-7107，我们将根据您首选的语言安排相应的译员，与您就贷款服务事项或您所接
收的文件进行商讨。

Please note that we operate as Newrez Mortgage LLC dba Shellpoint Mortgage Servicing in Arkansas and Texas.

California Residents
As required by law, you are hereby notified that a negative credit bureau report reflecting on your credit record may be submitted to a credit reporting
agency if you fail to fulfill your credit obligation.

The state Rosenthal Fair Debt Collection Practices Act and the federal Fair Debt Collection Practices Act require that, except under unusual
circumstances, collectors may not contact you before8 a.m. or after 9 p.m. They may not harass you by using threats of violence or arrest or by using
obscene language. Collectors may not use false or misleading statements or call you at work if they know or have reason to know that you may not
receive personal calls at work. For the most part, collectors may not tell another person, other than your attorney or spouse, about your debt.
Collectors may contact another person to confirm your location or enforce a judgment. For more information about debt collection activities, you may
contact the Federal Trade Commission at1-877-FTC-HELP or www.ftc.gov.
California Residentes
Como es requerido por la ley usted esta siendo notificado por este medio que un reporte de crédito negativo afectando su reporte de crédito puede ser
remitido a una agencia de reporte de créditos, si usted no puede satisfacer los términos de su obligación.

El acto estatal de Rosenthal Fair Debt Collection Practices, y el acto federal de Fair Debt Collection Practices requieren que, a menos de circunstancias
inusuales, los cobradores no podrán contactarlo antes de las 8 a.m. o después de las 9 p.m. Ellos no lo podrán acosar usando amenazas violentas o
arrestarlo o usar un lenguaje ofensivo. Los cobradores no podrán usar declaraciones falsas o engañosas o llamarlo a su trabajo si ellos saben o tienen
razón para saber que usted no puede recibir llamadas personales en su trabajo. En general, cobradores no le podrán decir a otra persona, aparte de su
abogado o su esposa, acerca de su deuda. Los cobradores se podrán comunicar con otras personas para poder comunicarse con usted, y para entablar
un juicio. Para más información sobre las actividades de colección de deuda, usted puede contactar Federal Trade Commission al1-877-FTC-HELP o
www.ftc.gov.
